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                       IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


  COMMODITY FUTURES TRADING
  COMMISSION, and                               ORDER GRANTING TENTH INTERIM
                                                FEE APPLICATION
  STATE OF UTAH DIVISION OF
  SECURITIES, through Attorney General
  Sean D. Reyes

               Plaintiffs,                      Civil No. 2:18-cv-00892-TC

        vs.
                                                Judge Tena Campbell
 RUST RARE COIN INC., a Utah corporation,
 GAYLEN DEAN RUST, an individual,
 DENISE GUNDERSON RUST, an individual,          Magistrate Judge Dustin Pead
 JOSHUA DANIEL RUST, an individual,

               Defendants;

 and

 ALEESHA RUST FRANKLIN, an individual,
 R LEGACY RACING INC, a Utah
 corporation, R LEGACY ENTERTAINMENT
 LLC, a Utah limited liability company, and R
 LEGACY INVESTMENTS LLC, a Utah
 limited liability company.

               Relief Defendants.
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        Before the Court is the tenth interim fee application (the “Fee Application”), submitted by

 Jonathan O. Hafen in his capacity as the Court-Appointed Receiver for Rust Rare Coin Inc., Gaylen

 Dean Rust, R Legacy Racing Inc., R Legacy Entertainment LLC, R Legacy Investments LLC,

 Denise Gunderson Rust, and Joshua Daniel Rust (collectively, “Defendants”) seeking approval by

 the Court for the expenses incurred by the Receiver; the Receiver’s counsel, Parr Brown Gee &

 Loveless (“Parr Brown”); the Receiver’s accountants, Berkeley Research Group (“BRG”), the

 Conflict Receiver, Wayne Klein, and his legal counsel, Manning Curtis Bradshaw & Bednar, for

 the period of January 1, 2021 through March 31, 2021 (the “Application Period”), and

 authorization to pay all allowed fees and expenses from funds of the Receivership Estate.

        Based on the Fee Application and accompanying exhibits, and for good cause shown,

        IT IS HEREBY ORDERED that:

        1.      The Fee Application is GRANTED; and


        2.      The Receiver is hereby authorized to pay the fees and expenses incurred by the

 Receiver, Parr Brown, BRG, the Conflict Receiver and his counsel as follows:

                a.     Receiver:              $20,736.00 for fees.

                b.     Parr Brown:            $459,545.00 for fees and
                                              $2,766.26 for out-of-pocket expenses.

                c.     BRG:                   $61,894.00 for fees and
                                              $3.57 for out-of-pocket expenses.

                d.     Conflict Receiver:      $9591.00 for fees and
                                               $82.85 for out of pocket expenses.

        3.      The Receiver and his professionals will not take any fees or be reimbursed for any

 expenses from the Receivership Estate until after the Receiver recovers at least three times the




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         amount of the fees for the Estate, at which time the approved fees and expenses shall be

 paid.

         DATED this ____ day of _______, 2021.




                                                     Honorable Dustin B. Pead
                                                     United States Magistrate Judge




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